                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA,               )
                                        )
              Plaintiff                 )
                                        )       No. 3:11-CR-0083-15
v.                                      )       Judge Haynes/Brown
                                        )
CARLOS ANTWAN FLETCHER,                 )
                                        )
              Defendant                 )

                                    O R D E R

              Judge Haynes has referred the Plaintiff’s motion for a
review   of    the    order   of   detention    (Docket     Entry   234)   to   the
undersigned (Docket Entry 240).
              A hearing was held in this matter on March 15, 2012.               At
the hearing the Defendant called his mother, who is a 30-year
employee with the Corps of Engineers and has lived in her current
residence since 1996.         Ms. Fletcher is willing to put her house up
as a bond to secure the Defendant’s presence and she further
offered to have the house secure all conditions of release, not
just failure to appear.
              She said the Defendant had a number of health issues to
include blood clots, asthma, nerves, knee problems. In general, he
had a number of cardiac and orthopaedic problems.                   She contended
that a number of tests had been recommended for him, but not
carried out by the jail.
              It is her understanding that the last physician he was
seen by was not happy that the Defendant had appeared at his office
in an orange jump suit, as this caused concerns among his regular
patients.         The     Government,     on    cross-examination,         secured



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information from Ms. Fletcher that Defendant had received treatment
for a host of problems and that he was getting medication for his
knee, clot, and heart problems.          Ms. Fletcher believed that she
could have her son placed on her health care insurance plan, which
she has through her employment with the United States.
           Given the fact that the Defendant is approximately 30
years of age, the Magistrate Judge does not believe that it is
possible for the Defendant to be placed on his mother’s health
care, and given his pre-existing conditions it would be virtually
impossible to obtain insurance.
           Ms. Douglas testified that she was a 40-year resident of
Nashville and lived with her mother.          Her mother has significant
health problems and undergoes dialysis several times a week.                She
has been employed for the last 17 years with a single company.              Her
niece has a child by Defendant.       She advised that she would act as
a third-party custodian. She was aware that the Defendant had been
charged with threatening her niece with a gun and that he was
charged with involvement with guns and drugs in the present case.
           Ms. Douglas was not aware of what Defendant’s employment
was around the time of his arrest.
           Mr. Reynold testified that he had known the Defendant for
a number of years.      He is employed as a guidance counselor at a
group home.      He stated that he owned a .223 rifle, which he
purchased in the summer of 2007.         He stated that he had left this
with the Defendant since he had undergone financial distress and
had lost his home and was unable to store the rifle at the group
house where he worked.

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             Mr. Reynold advised that he knew the Defendant had a gun
permit and could keep the weapon for him.                   He said that he had
never seen the Defendant with drugs.
             The Defendant testified for the sole purpose of providing
information about his medical treatment.                 He testified that since
his incarceration in April 2011 he did not believe that he had
received appropriate medical treatment.            He said that Dr. Mathews1
had indicated he needed knee replacement, and two other doctors had
advised that he needed heart surgery, along with an MRI and a CAT
scan.       He said his regular doctor (Dr. Gekas) had seen him
regularly before his arrest.           He said that he is concerned that he
was being given Ibuprofen, which was counter-indicated when also
given Coumadin.
             He stated by before he was arrested he had been advised
that he possibly had a hole in his heart.                  However, he admitted
that a couple of months before he had received tests, and they did
not indicate this problem.
             The Government called the case agent who said that they
had checked on the registration of one of the weapons and found
that it was registered to a former girlfriend of the Defendant who
apparently now resides in California.             The girlfriend had earlier
told the agent that she knew nothing about the weapon.                    On cross-
examination,      the    Defendant’s     counsel     pointed       out   that    the
Government had been very slow to run traces of the weapons and that
the Government had yet to seek a superceding indictment for either



     1
         This doctor’s name is spelled three different ways in the records.

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the weapons, several pounds of marijuana, or for 2,000 pills,
believed to be Ecstasy, which were seized during the course of the
arrest and search.       The Defendant allegedly made a statement to
officer that the Ecstasy was his.
             The Magistrate Judge is concerned that the Government,
while indicating an intention to secure a superceding indictment,
has moved so slowly in this matter.             Delay, however, by itself,
does not require release from pretrial detention.               However, delay
may at some point become a factor.
             The Defendant’s medical records were obtained from his
place of incarceration and, at the request of the Magistrate Judge,
reviewed by W. Burton Putman, Supervisory U.S. Probation Officer,
who prepared a report dated March 21, 2012.               The medical records
and Mr. Putman’s report will be attached as a sealed exhibit to

this order.

             A review of the records by Mr. Putman and the Magistrate
Judge,   does   not    support   the   Defendant’s      claim   of   inadequate
treatment.      The Defendant clearly has gone through a litany of
complaints.     However, it appears that the United States Marshal’s
service has responded to each of these and it is particularly
telling that the Defendant’s conduct belies the severity of many of
his complaints.       After complaining of knee problems and obtaining
a lower bunk, to be observed on two occasions jumping from an upper
bunk, renders this complaint suspect.             It also appears that the
Defendant, when offered the opportunity to go to sick call, has
been less than cooperative.            It appears additionally that the
Defendant is extremely reluctant to take prescribed medication and

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has attempted to avoid taking it on several occasions.                 Failure to
take Coumadin for blood clots is certainly risky behavior on his
part.
              The Magistrate Judge has carefully considered the issue
of pretrial release and remains satisfied that the Defendant does
not constitute a serious risk of flight.                  There are conditions
which    would   reasonably    assure       the   Court    of   the   Defendant’s
presence.
              The Magistrate Judge, however, remains unconvinced that
there are conditions which will reasonably protect the community
from    the   danger   the   Defendant      poses.        The   Magistrate    Judge
previously summarized his reasons for detention on April 27, 2011
(Docket Entry 86). The Magistrate Judge has reviewed Judge Haynes’
order affirming that decision (Docket Entry 202), as well as Judge
Haynes’ order referring this matter to the undersigned to consider
new allegations (Docket Entry 240).
              The Defendant’s medical record, which was previously
summarized, shows the Defendant has received appropriate medical
treatment and has, in a number of incidences, failed to cooperate
with his treatment. The Magistrate Judge does not believe that
these issues warrant a change of status.
              None of the third-party custodians would provide 24-hour
surveillance of the Defendant. The Defendant committed a number of
offenses while living with his mother.               The Magistrate Judge has
also considered the conditions that Pretrial Services suggested IF

the Defendant was released, dated March 7, 2012.                  The Magistrate
Judge does not believe that the adoption of these conditions would

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adequately protect the community, given the nature of the offense
and the nature of the Defendant’s criminal background, as well as
the nature of the charges facing the Defendant.
           Accordingly, the motion to change the present conditions
of release is DENIED.

           It is so ORDERED.

                                         /s/ Joe B. Brown
                                         JOE B. BROWN
                                         United States Magistrate Judge




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